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                               UNITED STATES BANKRUPTCY COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                       ORLANDO DIVISION
                                       www.flmb.uscourts.gov


In re :                                                                     Case No. 6:17-bk-06025-KSJ
                                                                            Chapter 7
Eliel Santos and
Sarah Santos,

                    Debtor(s).
____________________________/

                                  PROOF OF SERVICE BY ATTORNEY

          Attorney, Kristen L. Henkel, hereby certifies that a true & correct copy of Order Granting
Trustee’s Motion to Approve Consented Short Sale of Real Property Free and Clear of Liens, claims,
Encumbrances, and Interests Pursuant to 11 U.S.C. § 363(b), (f), and (m), dated December 4, 2018
(docket no. 39) has been sent by United States Mail, first class, post prepaid, or by electronic delivery to
all interested parties and to all persons on the mailing matrix, attached to the original of this document, as
furnished by the Clerk’s office on December 10, 2018.




                                                           /s/ Kristen L. Henkel
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